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 Pro Se 1 (Rev. 12/16) Complamt for a Civil Case


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                                         UNITED STATES DISTRIsn~ ~URT
                                                     for the    8  -8 PH ~I I I
                                                        United States District of Marylan&kn~M~tktE

                                                                       Civil Division      BY---                 OEPUTY

                                                                             )      Case No.
                                                                                                                TDG 18 CV 168 g
                                                                             )                      (to be filled in by the Clerk's Office)
                        John W. Liccione
                                                                             )
                              Plaintiff(s)                                   )
(Write the full name of each plaintiff who is filing this complaint.
Ifthe names of all the plaintiffs cannot fit in the space above,
                                                                             )      Jury Trial:   (check one)     [8] Yes 0         No
please write "see aJ/ached" in the space and aJ/ach an additional            )
page with the full Jist of names.)                                           )
                                  -v-                                        )
                                                                             )
                                                                             )
              Anne Arundel Medical Center,                                   )
          Howard County General Hospital, et al                              )
           (see fuJI list of defendants attached)                            )
                             Defendant(s)                                    )
(Write thefull name of each defendant who is being sued. If the
                                                                             )
names of all the defendants cannot fit in the space above. please
write "see oJ/ached" in the space and alJach an additional page
with the fall list ofnames.)




                                                   COMPLAINT FOR A CIVIL CASE


I.        The Parties to This Complaint
          A.         The PlaintilT(s)

                     Provide the information below for each plaintiff named in the complaint.                    Attach additional pages if
                     needed.
                                Name                                    John W Liccione
                                Street Address                          5824 Harness Court
                                City and County                         Columbia,    Howard County
                                State and Zip Code                      Maryland 21044
                                Telephone Number                        240-917-6116
                                E-mail Address                          iIiccione(a)gmai I.com




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           B.          The Defendant(s)

                       Provide the infonnation below for each defendant named in the complaint, whether the defendant is an
                       individual, a government agency, an organization, or a corporation. For an individual defendant,
                       include the person's job or title (((known). Attach additional pages if needed.
                       Defendant No. I
                                  Name                                Anne Arundel Medical Center
                                  Job or Title        (i(known)       N/A
                                  Street Address                      2001 Medical Parkway
                                  City and County                     Annapolis
                                  State and Zip Code                  MD 21041
                                  Telephone Number                    443-481-1000
                                  E-mail Address          a(known)    unknown


                      Defendant NO.2
                                  Name                                Howard County General Hospital
                                  Job or Title        (i(known)       N/A
                                  Street Address                      5755 Cedar Lane
                                  City and County                     Columbia,   Howard County
                                  State and Zip Code                  MD 21044
                                  Telephone Number                    410-740-7890
                                  E-mail Address          (((known)   unknown


                      Defendant NO.3
                                  Name                                See continuation sheet
                                  Job or Title        a(known)

                                  Street Address
                                  City and County
                                  State and Zip Code
                                  Telephone Number
                                  E-mail Address          a(known)



                      Defendant NO.4
                                  Name                                See continuation sheet
                                  Job or Title        a(known)

                                  Street Address
                                  City and County
                                  State and Zip Code
                                  Telephone Number



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                                 E-mail Address       (ifknown)



II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.s.C. ~ 1331, a casc arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.s.C. ~ 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction?              (check al/lOOI apply)

                ~      Federal question                                 0    Diversity of citizcnship


          Fill out the paragraphs in this section that apply to this case.

         A.          If thc Basis for Jurisdiction          Is a Federal Question

                    List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                    are at issue in this case.
                      Denial of Medical Treatment on the Basis of Sex and Mental Disability in Violation of The 4'h and 14'h
                      Ammendment guarantees of due process and equal potection under the law, the Americans With
                      Disabilities Act and the Civil Rights Act; Violation of Vulnerable Patient's HIPPA Privacy Rights.
                      Denial of Patient's Ist Amendment rights to free speech, freedom of the press, and to petition the
                      government for a redress of greivances. Seizure of his person and property in inviolation of his 4th, 5'h
                      and 14th Amendment rights. Denied his 6th amendment right to a speedy trial. Fraud, Medical
                      Malpractice.
         B.          If the Basis for Jurisdiction          Is Diversity of Citizenship

                     I.         The Plaintiff(s)

                                a.         If the plaintiff is an individual
                                           The plaintiff,      (name)   John W Liccione                          , is a citizen of the
                                                                        ---------~--------
                                           State of   (name)      Maryland
                                                                -----------------

                                b.         If the plaintiff is a corporation
                                           The plaintiff,      (name)                                            , is incorporated
                                                                        ------------------
                                           under the laws of the State of        (name)

                                           and has its principal place of business in the State of      (name)




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                                (If more /han one plain/iff is named in /he complain/. allach an addi/ional page providing /he
                                same informa/ionfor each addi/ional plain/iff.)

                     2.         The Defendant(s)

                                a.         (fthe defendant is an individual
                                           The defendant,      (name)      See attached list of individual defendants      , is a citizen of
                                           the State of   (name)        Maryland                                       . Or is a citizen of
                                            (foreign nation)



                                b.         If the defendant is a corporation
                                           The defendant,      (name)      Anne Arundel Medical Center, et al          , is incorporated under
                                           the laws of the State of      (name)    MD                                             , and has its
                                           principal place of business in the State of      (name)        MD
                                           Or is incorporated under the laws of       ({oreil?n nation)     MD
                                           and has its principal place of business in      (name)         Annapolis and Columbia, MD

                                (lfmore /han one defendan/ is named in /he complain!. allach an addi/ional page providing /he
                                same informalion for each addilional defendan/.)

                     3.         The Amount in Controversy

                                The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                stake-is more than $75,000, not counting interest and costs of court, because (explain):
                                 The large financial and other damages suffered (lost wages, lost stock, lost home, lost
                                 retirement, are well over $10,000,000




III.      Statement       of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff hann or violated the plaintiff's rights, including
          the dates and places of that involvement or conduct. Ifmore than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a sepamte paragraph. Attach additional pages if needed.




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           COUNT I: DENIAL OF MEDICAL TREATMENT ON THE BASIS OF SEX AND MENTAL DISABILITY
           Defendents denied Plaintiff medical treatment because he was a man that was accusing his wife of assault and
           attempted murder with poison, and because he had a history of depression. They rcfused to run any specific
           tests for poisons such as thallium and then ejected him from their hospitals without treating his ailments. They
           involuntarily committed him to a psychiatric hospital for 12 days under false pretenses.
           COUNT 2: RECKLESS ENDANGERMENT. Defendant I ejected Plaintiff from their facility while he was
          suffering the effects of thallium poison and could barely walk. Defendant's 1 & 2 also failed to report Plaintit1's
          wife's homicidc attempts to the police for investigation, nor did they preserve blood and urine samples.
          Defendants revealed to his wife of his wherabouts and condition at a time she was poisoning him.
          COUNT 3: CRIMINAL NEGLIGENCE: Defendant's failed to exercise a duty of care to Plaintiff that would
          have been routinely provided to any patient in a similar situation, because of their gender bigotry regarding men
          in a domestic violence situation, and because of their prejudice against those suffering from depression.
          COUNT 4: DEPRAVED INDIFFERENCE: Defendants were indifferent to Plaintit1's pain, suffering, and fear
          and kicked him out of their hospital without crutches or a wheelchair and left him in a poisoned state.
          COUNT 5: ILLEGAL INCARCERATION: Defendants falsi field Plaintit1's involuntary commitment form by
         claiming he wouldn't sign a voluntary committal form when he had agreed to do so but he just needed glasses to
         read it. They also represcnted falsely that he had expressed hostile intentions to others when he did not.
         COUNT 6: VOLATION OF HIPPA PRIVACY RIGHTS. Defendant's revealed to Plaintit1's wife his location
         and condition over his vehement objections and direct instructions not to do so to Defendants' staff.
         COUNT 7: MEDICAL MALPRACTICE: Defendants' failed to test Plaintiff for thallium poison (which is
         undetectable on a standard tax screen) even when they could see his thallium poison symptoms and they knew
         that Plaintit1's wife had duped him into applying it to his foot which had a red scaly rash and his foot was in
         severe pain - common symptoms of thallium poisoning. They failed to diagnose and treat his foot and other
         symptoms.
         COUNT 8: FRAUD. Defendant's falsified the involuntary commitment forms as well as fraudulently
         represented that Plaintiff wouldn't sign a voluntary commitment form when he had agreed to do so.

IV.      Relief

         State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
         arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
         the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
         punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
         punitive money damages.


         $10,000,000 in General Damages for Pain and Suffering, Emotional Distress, Reckless Endangerment, Criminal
         Negligence, Depraved Indifference, Illegal Incarceration, Violation ofHIPPA Privacy Rights, Fraud.

         $8,403,336 in Special Damages for lost past and future wages, loss of home, loss of IRA funds and taxes on
         early withdrawal, loss of future IRA gains, loss of 40 I K matching contributions, loss of stock holdings (177,500
         shares) and expenses incurred for forced exercise and sale of his stock options before he lost them after being
         fired due to Defendants' wrongful acts. Payment of extra income taxes due to early exercise and forced sale of
         stock options.

        $25,000,000 in Punitive Damages for knowingly and willfully denying Plaintiff proper medical treatment and
        the basis of his sex and mental health history, refusing to test him for thallium poison, failing to diagnose and
        treat his physical symptoms (pain in left foot and scaly red rash), failing to provide crutches or wheelchair,
        failing to notify the police Plaintit1's attempted murder and assault at his wife's hands, forcibly ejecting Plaintiff
        from Defendant I's hospital, falsifying involuntarily committal documents and involuntarily incarcerating him
        for 12 days, violating his HIPPA privacy rights by disclosing to his wife who was actively trying to murder him,
        his whereabouts and condition.



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V.        Certification      and Closing

          Under Federal Rule of Civil Procedure II, by signing below, I certifY to the best of my knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifYing, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule II.

          A.         For Parties Without an Attorney

                    I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                    served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                    in the dismissal of my case.


                    Date of signing:              06/0312018


                    Signature of Plaintiff
                                                   ~~-'---
                    Printed Name of Plaintiff      John W Liccione Pro Se


         B.         For Attorneys


                    Date of signing:


                    Signature of Attorney
                    Printed Name of Attorney
                    Bar Number
                    Name of Law Firm
                    Street Address
                    State and Zip Code
                    Telephone Number
                    E-mail Address




                                                                                                                     Page60f 6
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     IN THE UNITED STATES DISTRICT COURT OF THE DISTRICT                           OF MARYLAND



JOHN LICCIONE                                                *
5824 Harness Court                                           *
Columbia, MD 21044                                           *
240-917-6116                                                 *
                                                             *
Plaintiff                                                    *
                                                             *
v.                                                           *
                                                             *
ANNE ARUNDEL MEDICAL CENTER                                  *
2001 Medical Pkwy, Annapolis, MD 21401                       *
Phone: 443-481-1000                                          *
Defendant I                                                  *
                                                             *
HOWARD COUNTY GENERAL HOSPITAL                               *
5755 Cedar Lane, Columbia, MD 21044                          *
Phone: 410-740-7890*                                         *
Defendant 2                                                  *   CASE NO.:
                                                             *
DR. MARIA VILLANUEVA, MD                                     *
Johns Hopkins Community Physicians                           *   JURY TRIAL DEMANDED
8600 Old Georgetown Rd                                       *
4th Floor, D Wing, Hospitalist Office                        *
Bethesda, MD 20814 map                                       *
Phone: 301.896-7500                                          *
Defendant 3                                                  *
                                                             *
DR. VLADIMIR DEMIDOV, MD                                     *
2001 Medical Pkwy, Annapolis, MD 21401                       *
Phone: (443) 481-3767                                        *
Defendant 4                                                  *
                                                             *
DR. DANIEL PALUCHOWSKI, MD                                   *
2001 Medical Pkwy, Annapolis, MD 21401                       *
Phone: 443-481-1000                                          *
Defendant 5                                                  *
                                                             *
DR. C. MICHAEL REMOLL, MD                                    *
2001 Medical Pkwy, Annapolis, MD 21401                       *
Phone: (443) 481-1000                                        *
Defendant 6                                                  *
                                                             *

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 DR. COLLEEN GIBSON, MD                                      *
 2001 Medical Pkwy, Annapolis, MD 21401                      •
 Phone: (410) 481-1366                                       •
 Defendant 7                                                 *
                                                             *
 KIMBERLY SCHAUBER, RN                                       *
 1902 Campus Commons Dr, Suite 650
 Reston, VA, 20191                                           •
 Phone: 703-390-2300                                         •
 Defendant 8                                                 *
                                                             *
 MICHAEL R MIDGLEY, LCSW-C                                   *
 5058 Dorsey Hall Drive                                      •
 Suite 103                                                   •
 Ellicott City, Maryland 21042                               •
 Phone: 240-334-6940                                         •
 Defendant 9                                                 *
                                                             •
DR. ANGELINO, MD                                             *
5755 Cedar Ln, Columbia, MD 21044                            •
Phone: 410-720-8149                                          •
Defendant 10                                                 *
                                                             •
DR. WILLIE W BIVINGS, JR, MD                                 *
5755 Cedar Ln, Columbia, MD 21044                            •
Phone: 410-550-9720                                          •
Defendant 11                                                 *
                                                             *
DR. RAY K CHAWLA, MD                                         *
14300 Gallant Fox Lane, Bowie, MD 20715                      •
301-809-5556                                                 •
Defendant 12                                                 *
                                                             *
HARRY GILL, MD                               *
470 I Willard AVE #818 Chevy Chase, MD 20815 •
Phone: 202-248-1537                          •
Defendant 13                                 *
 *     **************                                             *    *   ******
                                                COMPLAINT

         Plaintiff hereby sues Defendants. The causes of action are: Denial of Medical Treatment

on the Basis of Sex and Mental Disability in Violation of the Americans With Disabilities and




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  Civil Rights Acts, Violation of the Fifth Amendment Right to be free from denial ofliberty and

  property without due process of law, the Fourteenth Amendment Right to Due Process and Equal

  Protection Under the Law, Violation of Patient HIPPA Privacy Rights, Reckless Endangerment,

 Gross Negligence, Depraved Indifference, Illegal Incarceration, Medical Malpractice, and Fraud.




                                                THE PARTIES

 John Liccione (Plaintiff) is a 58 year-old male Maryland resident and was a patient of Defendant

 I twice in October 01'2013, twice in May and July of2016, and once in August 01'2016.

 Anne Arundel Medical Center (Defendant               1) is a hospital in Annapolis, Maryland, that treated

 Plaintiff in October 01'2013 and again in August 01'2016.

Howard County General Hospital (Defendant 2) is a hospital in Columbia, Maryland, that

treated Plaintiff in October 01'2013, May of2016, and July and August 01'2016.

Dr. Maria Villanueva (Defendant 3) was a employee working at Defendant I who exanlined

Plaintiff in October 01'2013.

Dr. Vladimir Demidov (Defendant             4) was a psychiatrist working at Defendant I who examined

Plaintiffin October 01'2013.

Dr. Daniel Paluchowski         (Defendant    5) was an employee of Defendant I who examined Paintitf

in October 2013.

Dr. C. Michael Remoll (Defendant            6) was an employce of Defendant I who examined Plaintiff

in October 01'2013.

Dr. Colleen Gibson (Defendant           7) is a psychiatrist working at Defendant I who examined

Plaintiff in October 2013.




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     Kimberly Scbauber,      RN (Defendant 8) was a nurse at Defendant I and is believed to have

     been the charge nurse in the observation ward Plaintiff stayed overnight in on October 5 of2013.

  Michael R. Midgley, LCSW-D (Defendant                 9) was an employee of Defendant 2 and who had

  committed PlaintifT twice to mental institutions in July and August of 20 16.

  Dr. Angelino, MD (Defendant            10) was an employee of Defendant 2 and who had examined

 Plaintiff.

 Dr. Willie W. Bivings, JR, MD (Defendant               II) was an employee of Defendant 2 who

 examined Plaintiff.

 Dr. Ray K Chawla (Defendant             12) was an employee of Defendant 2 who examined Plaintiff.

 Dr. Harrry      Gill (Defendant     13) was an employee of Defendant 2 who examined Plaintiff.

 Dr. Ray K. Chawla, MD (Defendant               12), was an employee of Defendant 2 and was involved in

 Plaintiffs treatment there.

 Dr. Harry Gill, MD (Defendant            13) was an employee of Defendant 2 and was involved in

 Plaintifrs treatment there.


                                              CASE SUMMARY


 1.        Plaintifrs wife and her associates attempted to murder him multiple times between July

and October of2013.

2.        On information and belief, her chosen method for murder was thallium poison which she

had laced in his food, medicine, and had duped him into applying it to his recently broken left foot

on the pretext that it would help his foot heal faster.

3.        Plaintiff fled to Defendant I's facility twice in two days and asked for sanctuary and

treatment.



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 4.          Both times Defendant I failed to properly diagnose and treat his physical ailments.

 5.          He told Defendant I his wife was abusing him and poisoning him.

6.       Defendant I failed to test him for thallium, which doesn't show up on a standard toxicology

screen, even though Plaintiff was showing symptoms consistent with thallium poisoning.

7.       Defendant I allowed Plaintiffs wife to bluff her way past Defendant I's security protocol

and proceeded to disclose to his wife he was a patient there and his condition, even after Plaintiff

had told Defendant I under no circumstance was his wife to be told he was there.

8.       Detendant I involuntarily committed Plaintiff under false pretenses and shipped him to

Defendant 2.

9.       Plaintiff told Defendant 2 his wife had poisoned him but like Defendant I, they to failed to

test him for thallium poison.

10.      Both Defendant I and 2 failed to report the attempted murder of one of their patients to law

enforcement.

II.      Defendant I collected and preserved no evidence, then they willfully and maliciously

ejected him from their facility without crutches or wheelchair when he could barely walk.

12.      Defendant 2 also collected and preserved no evidence of thallium poisoning nor did they

treat his physical ailments.

13.      On infomJation and belief, they did this solely because he was a man, and because he had

a "history of mental health issues," and due to their gender bigotry and prejudices regarding the

victims and perpetrators of spousal abuse and murder and their bias against men suffering from

depression.




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 14.     Defendant I conspired and executed a plan to willfully and maliciously railroad Plaintiff

into involuntary incarceration by fraudulently painting him a homicidal threat to others, as

delusional, and as being unwilling to sign a voluntary committal form.

IS.      Defendants recklessly endangered Plaintiffs         life twice in the span of two days, then

illegally and fraudulently incarcerated him for 12 days.

16.      They saw that Plaintiff was in pain, they asked him why he was limping, and he told them

because his wife had poisoned him, and they laughed at him.

17.      Defendants willfully denied Plaintiff appropriate medical treatment for poison (such as the

administration of an antidote), for the visible injury to his left foot (such as painkillers), for his

limping, and deprived him of the most simple of accommodations             to include reading glasses,

crutches, and wheelchair.

18.      In July and August of 20 16, both Defendants I and 2 once again involuntarily committed

defendant because his wife lied to them claiming he was paranoid delusional about her. As a

result, Plaintiff was misdiagnosed again and was committed for a total of 19 days.

19.      For these illegal, willful, malicious, and reckless acts of commission and omission, Plaintiff

seeks general, special, and punitive damages for Defendants' violation of his civil rights under the

Americans With Disabilities Act, the Fourth, Fifth and Fourteenth Amendments                to the   u.s.
Constitution,    HIPPA privacy rights, for twice recklessly endangering         his life, for depraved

indifference, for medical malpractice, for fraud, and for intentional infliction of emotional distress .

                                              .JURISDICTION

20.      Proper jurisdiction is the US District Court of the District of Maryland as Plaintiff resides

in Maryland and Defendants are located in Maryland, and because Plaintiffs         constitutional




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  rights were violated in Maryland, and Defendants' violated several federal and Maryland laws in

  Maryland.

                                          PROCEDURAL MATTERS

  None.

                                                       FACTS

 21.         At no time in Plaintiff's life has he sutTered from serious or chronic mental health issues.

 The only mental health issues he has suffered from were two bouts of situational depression

 stemming from marital problems.

 22.         He has never expressed intentions of suicide, homicide, or violence to anyone.


 23.         Plaintiff's wife is a dressage horse trainer.    Her life's ambition is to compete for a gold

 medal in the Olympics in dressage.

 24.         In 2002, Plaintiff's wife, who is both Australian and French, came to realize she would

 never achieve her Olympic dreams in Australia due to internal politics within Australia's dressage

community.

25.       Because of this, she forced her then husband to pack up and move her, their infant daughter,

and her dressage horses to Florida where she believed she had a better shot at making the US

Olympic dressage team.

26.       Once in America, she soon realized that her husband did not make enough money to

support her Olympic quest, and so she began looking for a sugar daddy who could afford to fully

fund her Olympic run.

27.       Plaintiff and his wife met on-line and, once she found out he was a high-tech executive,

she began aggressively pursuing him in Maryland.

28.       She divorced her then husband in January of20l0.



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 29.    In early 20 I0, Plaintiff and his soon-to-be wife founded a horse business called Dressage

 Quest LLC. The company's business plan was to buy, train, and sell dressage horses and to give

 dressage lessons.      The company never made a profit, made close to zero in revenue, and thus

 Plaintiff was forced to cover all business expenses out of his own pocket.

 30.   She and Plaintiff married in July of 20 I0 whereupon Plaintiff moved to Florida to be with

his new wife and step-daughter.

31.    In 2011 they moved to Dayton, Maryland for Plaintiff's new job.

32.    His wife's insisted she had to have an Olympic sized indoor arena built for her on their

property to train her horses year round in all-weather so she could make on to the US Olympics

Dressage team.

33.    Plaintiff did not have the $125,000 it would have cost to build her the arena.

34.    So, his wife began trolling the Internet in search of a new sugar daddy. He caught her via

email and text messages that she was trying to entice wealthy men into sexual encounters.

35.    Plaintiff then caught his wife cheating on him with her horse farrier as well.

36.    At that time Plaintiff had taken out of$I,OOO,OOOlife insurance policy through his work.

37.    Plaintiff discovered from his wife's laptop search history that she had been researching ways

on how to collect on his $1,000,000 life insurance policy in he even of his death. He was not sick

at the time.

38.    Plaintiff's wife and her associates attempted to murder Plaintiff multiple times between July

and October of2013.        Their chosen method for murder was thallium poison.

39.      In July of 2013, Plaintiff's wife tricked him into applying thallium poison dissolved in

dimethyl sulfate oxide (DMSO) to his recently broken left foot, which had almost fully healed,

claiming it would promote faster healing.



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40.       Plaintiff began applying the mixture to his left foot twice a day until he developed a red

scaly rash on his almost-healed          foot and lower leg, and his foot and leg began deteriorating

inexplicably such that he once again was in pain and was limping severely.

41.       He went to his orthopedist thinking he might have re-fracture his foot but his orthopedist

said his x-ray showed his bones had almost completely healed and he was stumped as to why

Plaintiff was experiencing increasingly severe pain and the red scaly rash.

42.       Plaintiff stopped applying the chemical to his foot.

43.       When Plaintiffs wife realized she had failed to kill Plaintiff with poison through his skin

she laced his medicine with thallium. Plaintiff had caught her rooting around his medicine drawer.

44.       Plaintiff began experiencing abdominal cramps and pain, constipation and profusive cold

sweats.      He thought it might be his new anti-depressant      medication, a medicine that came in

capsules that could be pulled apart, so he stopped taking his medication, threw it out, hid all his

pills, and his symptoms quickly subsided.

45.       On the night of October 4th of2013, on information and belief, Plaintiffs wife realized the

poison on his foot and in his medicine didn't work, so she and her mother proceeded to lace his

dinner with thallium and a knockout drug.

46.       Aller he was knocked out and in bed, on information and belief, his wife slipped into the

spare bedroom and applied more thallium/DMSO to both his feet, and smashed his left foot with

a hard object to render him lame, defenseless, and poisoned.

47.       When Plaintiff awoke the next morning on October 5th of 2013, his left foot had a deep

purple bruise where none had been before and he was in great pain and was limping severely.

48.       Plaintiff asked his wife to take him to the emergency room because he could barely walk

and his foot was bruised. Plaintiffs wife refused and lell the room in disgust.



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49.      At that moment Plaintiff was 100 percent convinced his wife was trying to murder him so

he fled to Defendant I's hospital facility in Annapolis.

50.      He told their staff his wife was poisoning him, had smashed his left foot, he showed them

the purple bruising, and he asked for sanctuary and treatment.

21.      That day and the next, he told several of Defendant's       medical staff including Maria

Villanueva, MD, Kristen Norris, RN, Cynthia Radovic, RN, Kathleen Foster, LCPC, Michelle

Goldfein, Kimberly Schauber, RN, Janet Wright, RN, Vladimir Demidov, MD, Cathryn S

Wingate, LCPC, and Colleen Gibson, that his wife was trying to poison him.

57.      Plaintiff was also interviewed by Defendant I's female family social worker about what

was going on with his wife. Plaintiff explained how he was being mistreated and abused by his

wife, and he told her that his wife and her cohorts were trying to murder him.

58.     The social worker took no notes, recorded nothing he told her, left the room, and did

nothing further on his behalf. He never heard from her again.

51.      He asked Defendant I to test him for poison.

52.      Defendant I failed to run any specific tests to rule out thallium poisoning.     They only ran

a standard toxicology screen, which doesn't detect thallium.

53.      He asked them to call the police but they refused.

54.      He asked them to allow him to call the police but they refused.

55.     They failed to notify the police that one of their patients was reporting his wife had

assaulted him and was attempting to murder him.

56.      Instead of testing for poison and calling the police, Defendant l's Dr. Maria Villanueva

called his psychiatrist Dr. Carl Segal, claimed Plaintiff was delusional, passed the buck to him,

and dismissed Plaintiffs claims of spousal abuse and attempted murder.



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57.       Plaintiff told the hospital staff under no circumstances      were they to disclose his

whereabouts to his wife, because she was trying to kill him.

58.       They proceeded to disclose to her his whereabouts and condition.

59.       His wife sweet-talked her way through the Defendant I's patient security/privacy protocols

by posing as a loving, caring wife, by crying, by showing the nurse their wedding picture.

60.       Then, on information and belief, his wife proceeded to defame him to the nurse and accused

him of spousal abuse and falsely claimed he was mentally ill and a threat to her and her boyfriend.

61.       His wife did not possess Plaintiff's hospital security code, yet Defendant spoke with her

anyway.

62.       The next mornmg Defendant ejected Plaintiff from the hospital over his strenuous

objections.

63.       They forced him to limp out of their hospital carrying a heavy backpack with no crutches,

no wheel chair, in severe pain, with no pain killers, no diagnosis, no treatment, and threw him back

out on the street alone, thereby aiding and abetting his wife's next attempts on his life.

64.       After being ejected from the Defendant I's facility, Plaintiff called his lawyer who told

him to go to the Howard County Police, which he did.

65.       He told the police officer at the Howard County Police Headquarters that his wife was

poisoning him and engaging in other illegal activity on his property.

66.       The officer did not believe him and shooed him away.

67.       On the evening of October 6th of2013, his wife's team, on information and belief, tracked

his location by cellphone/GPS and chased him through west Clarksville down Ten Oaks Road.

68.       He was able to escape by pulling off on Adams Way where he turned off his engine and

lights.



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 69.         On the phone his wife screamed at him to tell her where he was and she told him they were

 coming for him with engines roaring and asked him if he could hear a speeding car.

 70.         He heard them approaching in the distance so he hung up.

 71.         He then saw two white high performance cars flash by on Ten Oaks road followed by a

 Howard County Police cruiser with lights flashing.

 72.     Officer Matthew Kurtz (badge number 5733) of the Howard County Police pulled them

over for speeding near the roundabout on Ten Oaks Roads at the intersection with Brighton Dam

Road.

73.      Plaintiff fled to the Annapolis Sheraton hotel and booked a room.

74.      Unfortunately, on information and belief, they tracked him there and booked rooms on his

floor.

75.      On information and belief, they proceeded to hack his laptop, broke into his room while he

slept, scratched his legs, lathered them with a thalliumfDMSO mixture, left the room and waited

for him to die.

76.      Early in the morning on October 7th of2013, PlaintifTwoke up due to his body's reaction

to the poison and found they had left a twisted-up paper towel they had stuck into the inside peep

hole of his door and he found it lying on the floor. He tried to reach his attorney but his WiFi and

cell phone were jammed.

77.      He panicked and ran out of his room and headed for the stairwell(s).             However, both

stairwell doors had been locked, so he ran to the elevator.

78.      At the end of the hall he heard his wife exclaim from behind the last door in the hall: "He's

coming back." He took the elevator to the lobby.




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79.      In the lobby, the elevator doors opened and his wife and another white female walked

rapidly out of the elevator toward him, until he shouted his wife's name, whereupon she spun

around and ran back into the elevator.

80.      Plaintitf stayed in the lobby and demanded the desk clerk call the Anne Arundel County

Police. Two officers arrived.

81.      They listened to his story and took him to Defendant I's facility.

82.      On October 7th of2013, Defendant's Dr. Vladimir Demidov and Colleen Gibson signed an

involuntary      psychiatric    committal     order   for Plaintiff   where   they   made      six fraudulent

representations by falsely asserting that:

               I) Plaintiff had a mental disorder

              2) He needed inpatient care or treatment

              3) He was unable or unwilling to sign a voluntary committal form

              4) He was a danger and a homicidal threat to others

              5) He was unable to care for himself in the community

              6) There was no available, less restrictive form of intervention that was consistent

                   with the safety of the individual

83.      Plaintiff told Defendant I's female staff member who presented him with a voluntary

committal form that he intended to sign it and asked for reading glasses so he could read the form.

84.      She refused, ripped the voluntary committal form out of his hand, declared since he

wouldn't sign it they were involuntarily committing him, and walked out of the room.

85.      Defendant l's Dr. Demidov fraudulently claimed in his notes that "Patient is not reliability

agreeable to voluntary treatment and therefore patient meets the criteria for certification."

86.     Dr. Demidov never directly examined Plaintiff.



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87.     Plaintiff told Defendant I's nurses and doctors his wife had poisoned his feet with DMSO

and that she and her team had just tried to murder him in his hotel room.

88.     They noticed numerous scratches all over his legs and the red scaly rash on his left foot.

89.     He told them he hadn't scratched himself and that it must have been his wife that did it to

him.

90.     He showed them the purple bruising on his left foot, told them he was in great pain (8 out

of lOon the pain scale), and demanded they test him for poison, because his urine sample was a

greenish-brown color.

91.     They did not believe him, and refused to test him for poison other than a standard

toxicology screen. He pointed out his urine sample was greenish-brown but they didn't listen to

him.

92.     The hospital staff refused to report spousal abuse and attempted murder of one of their

patients to law enforcement, and they refused to allow him to call the police.

93.     Plaintiff was transferred by Defendant I to Howard County General Hospital (Defendant

2) in Columbia where for the next 10 days he underwent withdrawal from the poison in his

bloodstream, and he experienced the shakes, twitching, muscle spasms, cramps, cold sweats.

While there, the poison continued to wreak havoc on his left foot, and it also began appearing on

his right foot (pain and red scaly rash) to the extent that he could barely walk around the ward

without extreme pain and had to walk on his heels to move around.

94.     Defendant 2's statT asked him several times why he was limping around the ward and he

explained to them it was because his wife had poisoned his feet.

95.     Plaintiff overhead a nurse joking about how Plaintiff had claimed his wife was poisoning

him through his feet.



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96.     Upon discharge, all Plaintiffs mental health care workers and his wife had convinced him

he had been delusional and he came to believe he had hallucinated everything, and all his

horrifying memories were repressed, and he entered a state of complete denial and dissasociative

amnesia about his wife's attempts to murder him and his mistreatment at the hands of Del'endents.

He remained in that state for the next four years while enduring his wife's daily psychological

abuse and gaslighting.

97.     In May 01'2016, Plaintiff began suffering from gastrointestinal cramps and rectal bleeding

and he went to Defendant 2 for treatment.

98.     Defendant 2 did not test him for poison and diagnosed him with general inflamation in his

colon, and discharged him with an instruction to take an over the counter laxative and put him on

an antibiotic.

99.     In August of 2016, Plaintiff finally realized he could no longer tolerate the his wife's

constant gas lighting and abuse and at the urging of his family, he left the family home.

100.    In August of 2016, PlaintifTwas involuntarily committed by Defendant 2's Michael R.

Midgley, LCSW, and he was sent to Sheppard Pratt Psychiatric hospital where he remained an

involuntarily committed inpatient for 12 days.

101.    Plaintiff had told Defendant 2's Michael R Midgley, LCSW that under no circumstances

were they to speak with his wife about him.

102.    Michael R Midgley, LCSW then proceeded to violate Plaintiffs HIPPA privacy rights and

called his wife and spoke to her about Plaintiff.

103.    On information and belief, his wife fraudulantly told Defendant 2's psychiatrist that

Plaintiff was paranoid delusional and a threat to her.




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104.    On information and belief, Defendant 2's psychiatrist based his decision to involuntarily

commit him on his illegal discussion with his wife.

105.    While Plaintiff was committed, he was fired by his employer because had not returned to

work. His annual salary was $125,000.

106.    Later that month, the same Defendant 2 psychiatrist threatened to involuntarily commit

him again unless he agreed to voluntarily commit himself.

107.    Plaintiff had no choice so he signed the voluntary committal form, and thereafter he was

transported to Laurel Regional Hospital where he spent 5 days before being discharged.

108.    Also in August of 2016, Plaintiff was brought to Defendant I in Annapolis and they told

him they were going to commit him unless he agreed to voluntarily commit himself.

109.    Plaintiff once again felt he had no choice so he signed the voluntary commital form

whereupon he was transferred to Bon Secours hospital where he spent the next 4 days before being

discharged.

110.    Over the next seven months, once Plaintiff had left his wife and was no longer under his

wife's psychological control and gaslighting, he began recovering from his post traumatic stress

and dissasociative amnesia.

 Ill.    In March of 2017, Plaintiff had recovered his faculties, memories, and critical thinking

capacity and he began a process of going back into his records relating to the traumatic events he

had experienced in 2013.

 112.    For the first time he rediscovered evidence he had uncovered in 2013 relating to his wife's

 murderous campaign, his feelings of terror, the memory of said evidence's existance and feelings

 having been repressed.




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113.     Once Plaintiff reviewed all the evidence he had from 2013 as well as after having collected

all the medical and police records relating to those events, all of his repressed memories flooded

back, he came out of his state of denial, and he realized he had been kept in a state of denial and

in a compromised mental state for four years.

114.     All the medical and police records confirm that his recollection of the events of 2013 is

fully accurate.

115.     In March 10th of2017, Plaintiff filed for absolute divorce on the grounds of adultery and

cruel and harsh treatment.

116.     Plaintiff lost his house to foreclosure in 2017 because of the loss of his job left him unable

to keep up with the mortgage payments and because the forecloser failed to serve him process on

any of the foreclosure paperwork.

117.     Because of the loss of his security clearance, he has been unable to land a job in his tield

in the Maryland region as most of the IT/eyber-Security       jobs require a clearance in this area.

118.     Because of the loss of his job at Tenable Network Security in March of2015, he was forced

exercise his 270,000 stock options to avoid losing them.

119.     In order to exercise those options, he was forced to borrow from a lender that required a

large pay back (The Employee Stock Option Fund), and he was forced to sell 170,000 shares back

to Tenable to cover the tax liability and to pay back the lender.

 120.    In October of2015, Tenable raised $250M in a private equity event which caused Plaintiff

to get hit with a large tax liability on the stock options he was forced to exercise or risk losing

 them.

 121.     Tenable is preparing for an initial public offering for as early as the fall of 2018.        On

 information and belief, the share price at IPO will be an estimated $20 per share. This places the



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losses Plaintiff will suffer from the 170,000 employee stock options he was forced to exercise and

sell to be in the neighborhood of $3,514,000.

122.    Because of his misdiagnosis by Defendant's I and 2 that he was suffering from paranoid

delusions and psychosis and that he was a danger to himself and others, it established a false

narrative regarding PlaintitTs mental health history that has haunted him ever since.

123.    This false mental health history narrative originally established by Defendants in 2013 and

again in 2016, was later used as a pretex by the Howard County Police, the State of Maryland, a

State forensic psychologist, and a judge in Howard County Circuit and District Courts, to arrest

him, incarcerate him, and to declare him mentally incompetent and a danger to himself and others,

and to prosecute him for crimes he didn't commit.

124.    This resulted in his being incarcerated for 3 months in the Howard County jail and 3 months

in a State mental institution (Springtiled Psychiatric Hospital) in May through December of2017.

125.    While in the jail and a mental hospital, Fifth Third Bank, which held the mortgage on his

house, seized his house in foreclosure and sold it at auction.

 126.    At the time, Plaintiffs home's estimated fair market value was $1, I 00,000.

 127.    Because of Defendants'        misdiagnosis of him which established a false mental health

history narrative for Plaintiff, he has a public record of being declared mentally incompetent and

a danger to himself and others, a public case record of being charged with felony first degree

 assault, felony burglary, breaking and entering, and false imprisonment, charges for which he was

 found not guilty.

 128.    Because of Defendants' misdiagnosis, Plaintiff was falsely arrested for tresspassing on at

 the State's Attorney's office in Ellicott City, Maryland, and he now carries on his public record a




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conviction of guilty and probation before judgment for tresspassing at a government office during

business hours, a crime for which he was innocent.



                                                 COUNT 1

               DENIAL OF MEDICAL TREATMENT ON THE BASIS OF SEX

                                     AND MENTAL DISABILITY

                         (In Violation of the Americans With Disabilities Act

       The Fifth and Fourteenth Amendments' Due Process and Equal Protection Clauses, and

                                            the Civil Rights Act)

         Paragraphs I through 128 are incorporated herein in their entirety.

129.     Defendants illegally discriminated against PlaintifT due to his sex and mental disability in

their refusal to treat his medical emergency and any of his other ailments, due to their gender

bigotry regarding the victims and perpetrators of spousal abuse and murder, and their prejudice

regarding patients having a "history of mental illness."

130.     Had Plaintiff been a woman or had he had no mental health history, Defendant would have

believed with certainty she was telling the truth, or at least, would have given her the benefit of

the doubt, and they would have believed there was real physical, emotional, and psychological

abuse and attempted murder occurring against said woman.

131.      Had Plaintiff been a woman or had he had no mental health history (depression), they

would have with certainty provided her appropriate medical, psychological, logistical and legal

assistance, they would tested her for poison, they would have given her an antidote for the poison,

they would have reported the incident to the police, they would have preserved the forensic




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evidence, they would have taken a picture of her bruised foot and red rash on it, and they would

have provided her sanctuary and protection from further attack.

132.      Had Plaintiff been a woman or had he had no mental health history, Defendant's medical

and security staff would have with certainty provided appropriate medical and psychological

treatment, walking aids, and othcr logistical support as would have been appropriate to anyone in

the same circumstances.

133.      It is highly likely Defendant's staff actually believed the exact opposite of the truth: That

his wife, even if she were in fact trying to kill Plaintiff, must have had a good reason, and that

Plaintiff must certainly deserve it because they had already pre-judged him a mentally ill spousal

abuser.

134.      On information and belief, Defendant's staff conspired together and hatched a plan that

would quickly result in Plaintiff's immediate involuntary committal to a psychiatric facility, where

he would no longer be a danger, in their minds, to his wife and her lover.

135.      On October 7th of 2013, AAMC's Dr. Vladimir Demidov (Defendant 4) and Colleen

Gibson (Defendant 7) signed an involuntary psychiatric committal order for Plaintiff wherc they

willfully made multiple fraudulent representations, asserting that:

               a) He had a mental disorder

               b) He needed inpatient care or treatment

               c) He was unable or unwilling to sign a voluntary committal form

               d) He was a homicidal threat to others

               e) He was unable to care for myself in the community

               f) There was no available, less restrictive form of intervention that was consistent

                    with the safety of the individual



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136.    Regarding a) above, Plaintiff didn't have a mental disorder other than depression.       He was

in a high state of agitation and terror because he was suffering from the effects of thallium

poisoning, and because his wife and her team had just chased him and cornered him in his hotel

room and tried to murder him. Demidov and Gibson had obviously decided based on his gender

and their illegal communications with his wife that he was a mentally ill wife abuser, that his wife

could not possibly be trying to murder him since she had come to the hospital and put on her

"sympathetic wife" act for them, so they abused their powers and willfully conspired and executed

a plan to illegally incarcerate him under false pretenses.

137.    Regarding b) above, he didn't need to be an inpatient, he needed police protection and

sanctuary, he needed an antidote for the poison, he needed painkillers and treatment for his feet,

and he needed a safe place to stay to recover from his wife's multiple assaults and attempts to

murder him.

138.     Regarding c) above, he told the AAMC female staff member who presented him with the

voluntary committal form that he intended to sign it, but that he couldn't read it because he had

left his reading glasses in the hotel, and he asked her to provide him reading glasses.

139.     She refused, ripped the voluntary committal forrn out of his hand, declared since he

wouldn't sign it they were involuntarily committing him, and walked out of the room in triumph.

It is noted there is no mention of this encounter in the hospital record so it is clear they covered it

up since it didn't fit their false narrative.

 140.    It is also noted that Dr. Demidov outright lied in his notes claiming "Patient is not reliability

 agreeable to voluntary treatment and therefore patient meets the criteria for certification."        It is

 finally noted that Dr. Demidov never directly examined Plaintiff.




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141.     Regarding d) above, the only intentions Plaintiff had ever expressed, and the only actions

he had thus far taken, regarding his wife and her lover, were to nee for his life from them, because

obviously, he was physically compromised and was unable to stand and defend myself from

assault, let alone initiate an assault against him. He had demonstrated his intentions:    Flight, not

Fight.

142.     Defendant I's representation that he presented a homicidal danger to others or self was a

willful lie and nothing more than a trumped up excuse for involuntary committal and an abuse of

power.

143.     It is noted that Dr. Demidov outright lied a second time in his notes claiming PlaintilTwas

a "Homicidal Threat" which contradicts the nurses' notes that said he had no intention of assaulting

his wife's lover.

144.     Regarding e) above, Plaintiffwas fully capable of taking care of himself in the community,

other than, of course, that he couldn't defend him from murder ifout alone in the community, and

that he needed treatment for poisoning and the smashing of his left foot.

145.     Regarding f) above, for the same reasons as a) through e) above, this representation is a

willful lie. What PlaintilTneeded was treatment for poisoning and his smashed left foot, and a safe

place to detox from the poison and heal, which was exactly what he demanded and which was

exactly what they refused to provide him, because hc is "a man with a history of mental illness."

 146.    For thcse reasons, Plaintiff prays thc Court find Defendant guilty of illegal discrimination

and denial of medical treatment on the basis of sex and mental disability, in violation of the

Americans With Disabilities Act, the Civil Rights Act, and the Fifth and Fourteenth Amendments

due process and equal protection clause, and grant to Plaintiff financial damages.




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                                                  COUNT 2

                                    RECKLESS ENDANGERMENT

       Paragraphs I through 146 are incorporated here in their entirety.

147.   Defendant is guilty of reckless endangerment of Plaintiff's health and life by willfully

and maliciously disclosing Plaintiff's whereabouts and physical condition, against Plaintiff's

vehement objections, to the very people who were actively trying to murder him. By doing so,

Defendant placed Plaintiff in dire peril by giving his murderers the vital intelligence they needed

to track him down and murder him.

148.    Defendant is guilty of even more outrageous reckless endangerment of Plaintiff in their

abject failure to provide him sanctuary and protection from those attempting to murder him.

Instead, they ejected him from their medical facility lame, poisoned, and without any protection,

no wheelchair, no crutches, which left him not only defenseless to any attack, but literally

poisoned with chemicals that were already coursing through his bloodstream that, if not treated,

would kill him.

149.    They did this even in the face of the physical evidence of domestic violence on his foot,

of his severe limp and in pain (8 out of 10 on the pain scale) for which there was no logical

explanation (other than Plaintiff's own) given his x-rays were negative, and even in the face of

Plaintifsrs cogent description of what his wife had claimed was being applied to his foot

(DMSO/poison), and also his description of what she was planning to do to his foot (smash it

with a bat or axe) to make him defenseless to lethal attack from her lover.

150.    It is clear that not of single one of Defendants' medical staff even made the most trivial

effort to look up cases and symptoms involving wives poisoning their husbands.        Had they done




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a IO-second Google search they would have found several famous cases of wives poisoning their

husbands, and vice versa, with various types of poison such as thallium or rat poison.

151.   Defendant is guilty of reckless endangerment by not acting to prevent his death from

poisoning. They failed to run a simple blood and urine test to prove or rule out traces of poisons

like thallium in his bloodstream, even in the face of the physical evidence including the bruising,

and pain on Plaintiffs foot, the scratches all over his legs, and Plaintiffs detailed and cogent

explanation of the murderous campaign his wife was waging against him.

152.    It is clear based on the evidence that Plaintiff wasn't crazy: His story sounded crazy. It

appears Defendants' staff were unable to discern the difference between a crazy man and a sane

man with a crazy story.

153.    Finally, Defendant is guilty of reckless endangerment of Plaintiff by failing to report the

domestic violence and attempted murder of Plaintiff by his wife and her cronies to the police, by

actively and willfully denying Plaintiff a phone to call the police, and by refusing to call the

police after Plaintiff insisted they do so.

154.    In committing these illegal and callous acts of commission and omission, they ensured

Plaintiff would never receive any police protection from his murderers, and it allowed Plaintiffs

murderers free reign to execute Plaintiff with impunity once he was released onto the street.

155.    For these reasons, Plaintiff prays the Court find Defendants guilty of reckless

endangerment and order the award to Plaintiff financial damages.




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                                                   COUNT 3

                                       CRIMINAL NEGLIGENCE

        Paragraphs I through 155 are incorporated here in their entirety.

156.    Defendants' personnel are guilty of criminal negligence by willfully and maliciously

failing to exercise a duty of care to Plaintiff that would have been routinely provided to any

patient in a similar situation, because of their gender bigotry regarding men in a domestic

violence situation, and because of their prejudice against those suffering from depression.

157.    Defendants' staff were criminally negligent in refusing to run a blood and urine test for

poison on Plaintiff even after Plaintiff told Defendants staff his wife and her lover were trying to

poison him.

158.    Plaintiff described in detail to Defendant's staff that his wife had provided him with a

chemical that she identified as DMSO and that she had badgered him over and over that Plaintiff

must put it on his foot. Plaintiff told Defendant's staff that he believed his wife was attempting

to poison him through his feet and legs using DMSO. Plaintiff also explained to Defendant's

staff that his wife was spiking his food and medications with poison. Plaintiff explained to

Defendant's staff the pain and other symptoms he had been experiencing in his foot since the

application of the supposed DMSO, including the return of increasingly severe pain and his

inability to walk without a severe limp.

 159.    Defendants ignored everything Plaintiff told them and failed to take appropriate action to

protect Plaintiff from physical harm. They refused to take him seriously and refused to report

the incident to the police, and they even refused to allow Plaintiff to call the police on his own

behalf, even though they could clearly see the bruising on his left foot, and even though they

 could clearly see on the x-ray that Plaintiff's foot bones was fully healed and therefore should



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not have been causing Plaintiff any pain or limp. Defendant's staff offered Plaintiff no

explanation or treatment for the bruising, and the pain Plaintiff was experiencing with his feet.

160.    Defendants dismissed literally everything the Plaintiff told them, and everything they

could clearly see. They did literally nothing about it. They ignored the physical medical

evidence. Then, they abused their power to unlawfully incarcerate Plaintiff under fraudulent

pretenses, including on a trumped-up diagnosis of psychosis and paranoid delusions.

161.    Defendant's is guilty of criminal negligence when they abused their power by

deliberately, willfully, and maliciously denied Plaintiff his right to reasonable accommodation of

Plaintiff's near sightedness in their failure to provide Plaintiff simple reading glasses even after

Plaintiff told Defendant's female nurse that he could not read the form without them.

Defendant's staff used Plaintiffs request for glasses as laughable pretext for involuntary

committing him, which denied Plaintiff his liberty for 12 days.

162.    Defendant's also acknowledged to Plaintiff that they noticed scratches all over Plaintiff's

body, upon which Plaintiff told them he had not done it to himself, and that he believed his wife

had scratched him in his hotel room in order to speed up the absorption of poison into his

bloodstream in order to kill him.

163.    Defendant's medical and security stafTwere guilty of criminal negligence when they

violated their own policies and procedures by failing to supply Plaintiff with trivial medical

accommodations including a wheelchair or crutches, by making him walk out on his own two

feet with a severe limp without a definitive diagnosis, without any evidence the antibiotic was

having any therapeutic effect on his symptoms, without an alternate treatment plan, and by

forcing Plaintiff to search on foot for his car while in pain and with a severe limp.




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164.    Finally, Defendants is guilty of criminal negligence when they willfully and maliciously

refused to report the threat of, or actual commission of, spousal physical abuse, including

attempted murder, against one of their patients.

165.    For these reasons, the Plaintiff prays the Court find Defendants guilty of criminal

negligence and order the award to Plaintiff compensatory and punitive damages.



                                                  COUNT 4

                                      DEPRA VED INDIFFERENCE

        Paragraphs I through 165 are incorporated here in their entirety.

166.    Defendant is guilty of depraved indifference to Plaintiff's, pain, s.uffering, and terror, by

willfully and with malice denying Plaintiff the most basic medical, psychological, and logistical

care that a medical facility owes to any patient in such a condition, male or female, mentally

healthy or ill. They failed in their duty to provide pain killers, crutches, a wheelchair, a shoulder

to lean on, psychological counseling, any legal assistance, police protection, compassion, empathy,

or any treatment for his feet for the bruising and pain.

167.    Defendant I was guilty of depraved indifference when they ejected Plaintiff out of their

medical facility in the face of Plaintiff's pain and suffering and fear, because they believed he was

"faking it," when the medical evidence proved the opposite.     Defendants' personnel willfully and

maliciously demonstrated contempt and depraved indifference to Plaintiff's pain and suffering,

said pain and suffering which was intuitively obvious to anyone with eyes, ears, and a scintilla of

human compassion and decency.

 168.   For these reasons Plaintiff prays the Court find Defendant guilty of depraved indifference

and award Plaintiff financial damages.



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                                                  COUNT 5:

                                     ILLEGAL INCARCERATION

          Paragraphs 1 through 168 are incorporated here in their entirety.

169.      Defendant is guilty of illegally incarcerating Plaintiff when they abused the powers granted

to them under Maryland law and illegally and willfully conspired to incarcerate him under false

pretenses.

170.    Defendant further illegally incarcerated             Plaintiff in their reckless denial of even the

possibility that Plaintiff was telling the truth, and by failing to perform a single test to prove or

rule out thallium poisoning, nor did they report it to the police, nor did they collect and retain any

relevant physical evidence, or take any pictures.

171.      Defendant's deliberate and willful actions resulted in the denial of Plaintiffs       liberty for 2

days at Defendant's facility, and then 10 more days at Howard County General Hospital in October

of2013.

172.      Under Maryland law governing involuntary commitment to a psychiatric facility, a patient

must meet several criteria including:

                                a. Be deemed be a danger to self/others;

                                b. Be in need of treatment; and

                                c. Be unable or unwilling to be voluntarily admitted

173.      In the case at hand, the Plaintiff did not meet criteria a. and c. above and Defendant

involuntarily committed Defendant anyway because of their own gender bigotry and his mental

health history (depression), and they stripped Plaintiff of his liberty in contravention of Maryland

and federal law.




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174.    Plaintiff had expressed to Defendant's             medical staff that he was willing to sign the

voluntary committal form if only he could read it, and that he couldn't read it because he didn't

have his reading glasses with him.           Defendant's      female staff deliberately, willfully, and with

malice refused to provide him reading glasses and then conspired with each other to perpetuate the

fiction that Plaintiff was psychotic, so that they could prepare a false paper trail to minimize the

risk they would sued by Plaintiff for illegal incarceration.

175.    It is clear from Plaintiff's horrible treatment at the hands of Defendants' staff that their

legal and medical policies were specifically designed to minimize their financial risk and legal

liability whenever they involuntarily commit a psychiatric patient, rather than being designed with

the patient's best interests in mind. In doing so, Defendants put a system in place, which directs

and demands that its staff skirt the law governing involuntary incarceration in order to eliminate

their liability at the expense of their Patients' wellbeing. In doing so, Defendant is systematically,

willfully, deliberately, and with malice, violating the law for financial and legal reasons.

176.    Second, Plaintiff was never a threat to himself or anyone else and yet Defendant's

concocted and perpetuated a false narrative that he was a threat to others and used that as a pretext

to involuntarily commit him.

177.    In thcir refusal to provide Plaintiff the simple accommodation of reading glasses, and in

their trumped up diagnosis that Plaintiff was a threat to himself and others, and by involuntarily

committing him under those falsc pretenscs, it is beyond a shadow of a doubt that Defendant,

willfully and with malice, illegally incarcerated              Plaintiff and robbcd him of his liberty in

contravention of Maryland and federal law.

178.    For these reasons, Plaintiff prays the Court find the Defendant guilty of illegal incarceration

and award to Plaintiff compensatory and punitive damages.



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                                                    COUNT 6:

                CRIMINAL VIOLATION OF PATIENT HlPPA PRIVACY RIGHTS

             Paragraphs 1 through 178 are incorporated here in their entirety.

 179.    Defendant is guilty of criminal violation of Plaintiff's H1PPA privacy rights in their willful

and reckless disclosure of Plaintiffs         whereabouts and condition, over Plaintiff's strenuous and

repeated objections, to the very people who were actively trying to murder him, thus aiding and

abetting his wife in her next attempts on his life.

 180.    Defendant I's own hospital records prove without further deliberation that Defendant

sympathized with Plaintiff's wife at the expense of Plaintiff and disclosed to her his whereabouts

and condition.

181.     Further, by concocting the false narrative that Plaintiff was homicidal towards Billy

Romjue, they felt they were justified, based on their own false narrative, in contacting Plaintiffs

wife and Billy Romjue and falsely asserting to them that Plaintiff wanted to murder Romjue,

thereby once again revealing Plainti!rs whereabouts to his murderers.

182.     Defendant 2 violated Plaintiff's HIPPA privacy rights again in August of2016 when they

contacted his wife over his vehement objections and interviewed her and disclosed information to

her.

183.     For these reasons, Plaintiff prays the Court find the Defendants in criminal violation of

Plainti!rs HIPPA privacy rights and award to Plaintiff general and punitive damages



                                COUNT 7: MEDICAL MALPRACTICE

         Paragraphs 1 through 183 are incorporated here in their entirety.




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 184.        Defendant are guilty of willful and malicious medical malpractice in their failure to act in

 even the slightest of ways to confirm or refute Defendant's assertion that he was being physical

 abused and poisoned by his wife. Defendant failed to perform a blood or urine test to confirm or

 rule out thallium poisoning, and they failed to preserve any blood or urine samples or

photographs for any potential criminal investigation.

 185.    Defendants were guilty of willful and malicious medical practice by utterly failing in

their duty to actually treat Plaintiff at all from the thallium poison coursing through his

bloodstream.       Defendant put him in grave danger by failing to even attempt to discern whether

Plaintiff had been poisoned and if yes, by what kind of poison, so they could give him the

appropriate antidote or other appropriate treatment to prevent death by thallium poison. They

failed to collect the forensic evidence of any poison in Plaintiff's bloodstream or urine which

would have been used by law enforcement to prevent Plaintiff's murder and to prosecute his wife

and her co-conspirators.

186.     Further, Defendants were guilty of willful and malicious medical malpractice when they

ignored the physical signs of potential poisoning on Plaintiff's feet and skin, the scratches all

over his legs, the scaly red rash on his teet, the pain in his lower extremities, and they failed in

their duty to rule out thallium poisoning as the cause of Plaintiff's physical signs of trauma and

extreme agitation.

187.     Defendants were guilty of willful and malicious medical malpractice when they failed to

notify the police as is required by law that they had a 53-year old male patient claiming spousal

abuse and attempted murder, which could be corroborated by physical evidence, even though

they could plainly see Plaintiff had bruising and scratches on his skin that could have been the

result of attempted murder via poisoning and assault as was claimed by Plaintiff ..



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188.    Defendant I 's family social worker was guilty of willful and malicious medical

malpractice in her failure to follow up on anything Plaintiff had reported to her about

mistreatment and attempted murder by his wife. She failed to follow up in any way with

counseling or treatment for the psychological trauma Plaintiff was experiencing due to his wife's

abuse. It appeared she considered her job to provide support to only women.

189.    Defendant I is guilty of willful and malicious medical malpractice when they kicked

Plaintiff out of the hospital against his wishes when he was in pain and when they hadn't even

reached a definitive diagnosis and treatment plan for his foot, by failing to provide the most

trivial of medical devices, crutches or a wheelchair, or a shoulder to lean on, even after having

seen Plaintiff limp in pain both into and out of the ward, and by failing to test him for poison.

190.    Further, Defendant I is guilty of willful and malicious medical malpractice when they

failed to provide help finding his car, even as he was presenting with a severe limp. Plaintiff told

the security guard posted at the exit door that his cell phone was dead and that he did not know

where his car was parked. He was refused use of a cell phone, he was offered no crutches, no

wheelchair, nor was he offered any assistance in calling his daughter or finding his car. Plaintiff

was forced to limp around several levels of the hospital parking garage with a heavy backpack on

his back, which caused severe pain and suffering.

191.    Further, Defendant Iis guilty of willful and malicious medical malpractice due to their

rcfusalto provide even the most trivial of accommodations, reading glasses, so he could read the

voluntary committal form and other forms, which he would have voluntarily signed had he been

able to simply read it.

192.    Further, Defendant is guilty of willful and malicious medical malpractice when two of

their doctors made multiple fraudulent representations on Plaintiff's involuntary committal form.



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193.    Defendants were guilty of medical malpractice when they completely misdiagnosed

Plaintiff's medical and psychological condition during both visits to Defendant I's facility on

October 6th and 8th 01'2013; and in Defendant 2's facility thereafter, said misdiagnosis based

solely on their gender bigotry and their prejudices regarding the sex of spousal abuse perpetrators

and their bias against patients with a medical health history (depression in this case).

194.    Defendants are guilty of willful and malicious medical malpractice in their failure to

perform the most important duty of all for any medical institution; that is, to protect their patient

from being murdered on their watch.

195.    Finally, Defendant is guilty of medical malpractice in their failure to properly diagnose

and effectively treat Plaintiff's actual mental health issue: depression.   Defendant ignored

Plainti!rs assertions that the anti-depressant medication he was taking was completely

ineffective in treating his depression, and they changed none of his medications or dosage. By

failing to do so, they condemned Plaintiff to four more years of depression which cost him his

job, lost past and future wages in base salary and bonuses, 177,000 shares of his stock holdings,

his house, his truck, his next job, and other financial damages.

196.    For these reasons stated above, the Plaintiff prays the Court find the Defendant guilty of

medical malpractice and award to Plaintiff general, special, and punitive damages.



                                                  COUNT 8

                                                   FRAUD

        Paragraph's I through 196 are incorporated here in their entirety.

 197.   Plaintiff's medical staff defrauded Plaintiff by leading him to believe that he would be

given time, and reading glasses, so that he could review the voluntary committal form and give



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them his informed consent. Instead, when Plaintiff said he needed to read it first and needed

glasses Defendant's female nurse ripped the voluntary committal form out of his hands, and

flippantly and with condescension told him that since he wouldn't sign the form, they were

involuntarily committing him immediately.           Defendant's nurse tricked him into thinking he had

time to carefully review the document, where, on information and belief, the nurse had planned

all along to rip the document out of Plaintiff's hands before he could read it, let alone actually

sign it, and thereby she succeeded in executing Defendant I's plan to railroad him into

involuntary incarceration, leaving him flabbergasted and confused, with no recourse.

198.    Plaintiff is guilty of fraud in their making fraudulent representations in their notes and in

their involuntary committal form in order to involuntarily commit him even though he was

willing to sign the voluntary committal form, and even though he had never expressed homicidal

intentions to any of Defendant's staff or others, which is documented in their records.

199.    Plaintiff is guilty of fraud by willfully doctoring Plaintiff's medical records to make him

appear psychotic and a danger to self and others when he was neither, in order to cover

themselves in the event Plaintiff were to sue them for illegal incarceration or malpractice.

200.    It is noted that nowhere in Defendant's medical records do any of Defendant's stall'

indicate Plaintiff was:

                a. Ranting

                b. Raving

                c. Foaming at the mouth

                 d. Yelling

                 e. Saying he intended to assault or murder someone

                 f.   Out of control



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                g. Incoherent

                h. Screaming

                I.   Displaying signs of psychosis

               J.    Any other symptom commonly associated with someone suffering psychosis

                k. Any history at all of psychosis or delusions

201.    Defendant's staff even interviewed Plaintiff's ex-wife, Laura Liccione, who told them

Plaintiff had never been psychotic or delusional in the 25 years she had known him. They

ignored her too, and just continued to believe, against all evidence to the contrary and because of

their prejudices, what they wanted to believe, and fraudulently committed Plaintiff against his

will for 12 days.

202.    It appears that in Anne Arundel and Howard Counties, hospital staff have never heard of

a woman poisoning her husband to death to collect on his life insurance policy.

203.    For these reasons, Plaintiff prays the Court find the Defendant guilty of fraud and award

to Plaintiff general, special, and punitive damages.



                                          PRAYER FOR RELIEF

       WHEREFOR:           Plaintiff prays for judgment and relief as follows:

                A. Order the award to Plaintiff $1 0,000,000 in general damages.

                B. Order the award to Plaintiff $8,403,336 in special damages.

                C. Order the award to Plaintiff $25,000,000 in punitive damages

                D. Order the award to Plaintiff interest in any pre- judgment or post-judgment on

                     any financial damages to Plaintiff in the amount to be determined at trial.

                 E. Attorney's fees and costs



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                F. Grant Plaintiff leave to amend this complaint.

                G. Such other and further relief as this Court deems just and proper.




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    I do solemnly declare and affirm under the penalties of perjury that the contents of the

foregoing Complaint are true and correct to the best of his knowledge, information, and

belief.




                                                                  ectfully submitted,




                                                              John Liccione, PRO SE
                                                              5824 Harness Court
                                                              Columbia, MD 21044




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